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                   IN THE UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF INDIANA
                           INDIANAPOLIS DIVISION
__________________________________________
IN RE: COOK MEDICAL, INC, IVC FILTERS
MARKETING, SALES PRACTICES AND                Case No. 1:14-ml-2570-RLY-TAB
PRODUCTS LIABILITY LITIGATION                                   MDL No. 2570
__________________________________________


This Document Relates to Plaintiff(s)
Laurie Chezem

Civil Case # 1:18-CV-1660



                                 SHORT FORM COMPLAINT


       COMES NOW the Plaintiff(s) named below, and for Complaint against the Defendants

named below, incorporate The Master Complaint in MDL No. 2570 by reference (Document 213).

Plaintiff(s) further show the court as follows:

       1. Plaintiff/Deceased Party:

            Laurie Chezem

       2. Spousal Plaintiff/Deceased Party’s spouse or other party making loss of consortium

            claim:

            N/A

       3. Other Plaintiff and capacity (i.e., administrator, executor, guardian, conservator):

            N/A

       4.   Plaintiff’s/Deceased Party’s state of residence at the time of implant:

            Texas




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     5. Plaintiff’s/Deceased Party’s state of residence at the time of injury:

        Texas

     6. Plaintiff’s/Deceased Party’s current state of residence:

        Texas

     7. District Court and Division in which venue would be proper absent direct filing:

        U.S. District Court for the Northern District of Texas, Fort Worth Division

     8. Defendants (Check Defendants against whom Complaint is made):

            ☒       Cook Incorporated

            ☒       Cook Medical LLC

            ☒       William Cook Europe ApS

     9. Basis of Jurisdiction:

            ☒       Diversity of Citizenship

            ☐       Other: ________________________________________________

        a. Paragraphs in Master Complaint upon which venue and jurisdiction lie:

        1-52

        b. Other allegations of jurisdiction and venue:

        N/A




     10. Defendants’ Inferior Vena Cava Filter(s) about which Plaintiff(s) is making a claim

        (Check applicable Inferior Vena Cava Filters):

            ☐       Günther Tulip® Vena Cava Filter

            ☒       Cook Celect® Vena Cava Filter
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            ☐       Gunther Tulip Mreye

            ☐       Cook Celect Platinum

            ☐       Other:
            ___________________________________________________________
     11. Date of Implantation as to each product:

        May 12, 2012



     12. Hospital(s) where Plaintiff was implanted (including City and State):

        JPS Hospital

        Fort Worth, TX

     13. Implanting Physician(s):

        Dr. John Peter Fitzsimons




     14. Counts in the Master Complaint brought by Plaintiff(s):

            ☒       Count I:        Strict Products Liability – Failure to Warn

            ☒       Count II:       Strict Products Liability – Design Defect

            ☒       Count III:      Negligence

            ☒       Count IV:       Negligence Per Se

            ☒       Count V:        Breach of Express Warranty

            ☒       Count VI:       Breach of Implied Warranty

            ☒       Count VII:      Violations of Applicable Texas Law Prohibiting Consumer

                    Fraud and Unfair and Deceptive Trade Practices
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            ☐       Count VIII:       Loss of Consortium

            ☐       Count IX:         Wrongful Death

            ☐       Count X:          Survival

            ☒       Count XI:         Punitive Damages

            ☒       Other:            Tolling of Statute of Limitations (please state the facts

                    supporting this Count in the space, immediately below)

                    Plaintiff and the physicians reasonably relied upon the skill and judgment

                    of Defendants. As soon as the true nature of the IVC FILTER and the fact

                    that the warranty and representations were false were ascertained, Plaintiff

                    was notified of the breach. Due to Defendants’ deception, and failure to

                    notify individuals of the defects, Plaintiff could not have known of the

                    falsehood and therefore could not have taken action before this time.


            ☐       Other:            ___________________ (please state the facts supporting

                    this Count in the space, immediately below)

            __________________________________________________________________

            __________________________________________________________________

            __________________________________________________________________

            __________________________________________________________________

            __________________________________________________________________

     15. Attorney for Plaintiff(s):

        Riley L. Burnett, Jr. & Karen H. Beyea-Schroeder


     16. Address and bar information for Attorney for Plaintiff(s):
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        Riley L. Burnett, Jr., Burnett Law Firm, 3737 Buffalo Speedway, 18th Floor, Houston,

        TX 77098

        Bar Information: U.S. District Court for the Southern District of Texas No. 17010

        Karen H. Beyea-Schroeder, Burnett Law Firm, 3737 Buffalo Speedway, 18th Floor,

        Houston, TX 77098

        Bar Information: U.S. Supreme Court No. 291652, U.S. District Court for the Southern

        District of Texas No. 871854

        A Jury Trial is hereby demanded on all Counts.

                                                Respectfully submitted,

                                                BURNETT LAW FIRM

                                         By: /s/ Karen H. Beyea-Schroeder
                                             Karen H. Beyea-Schroeder
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                                             Attorneys for Plaintiff(s)


                                             Lead Counsel for Plaintiff




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